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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                      )
                                          )
                Plaintiffs,               )
                                          )
   v.                                     ) Case No. 3:22-cv-00049-NKM
                                          )
   JOSHUA MAST, et al.,                   )
                                          )
                Defendants,               )
                                          )
   and                                    )
                                          )
   UNITED STATES SECRETARY OF             )
   STATE ANTONY BLINKEN, et al.,          )
                                          )
                Nominal Defendants.       )
                                          )


           [PROPOSED] ORDER GRANTING KIMBERLEY MOTLEY’S
              MOTION TO DISMISS THE AMENDED COMPLAINT

         Came this matter before the Court on Kimberley Motley’s Motion to Dismiss

  the Amended Complaint and its accompanying Memorandum in Support. The Court,

  having considered the file and the arguments and submissions of counsel, finds that

  Kimberley Motley’s Motion to Dismiss should be GRANTED.

         It is so ORDERED that the claims against Defendant Kimberley Motley are
         hereby DISMISSED with prejudice.

         Entered this ____ day of _____________, 2022.



                                  _____________________________
                                  NORMAN K. MOON
                                  SENIOR UNITED STATES DISTRICT JUDGE
